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                          UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF PENNSYLVANIA


AMERICAN            ENVIRONMENTAL
ENTERPRISES,  INC.,     d/b/a THE
SAFETYHOUSE.COM,

                       Plaintiff,

v.
                                                 CIVIL ACTION
MANFRED STERNBERG, ESQUIRE, and
MANFRED STERNBERG & ASSOCIATES, PC, No. 2:22-CV-0688 (JMY)
and CHARLTON HOLDINGS GROUP, LLC, and
SHLOMO GROSS a/k/a SAMUEL GROSS, and
GARY WEISS, and A.SOLAR, LLC, and
DAPHNA      ZEKARIA, ESQUIRE, and
SOKOLSKI & ZEKARIA, P.C.

                       Defendants


                                          ORDER

       AND NOW, this           day of                 , 2024, upon consideration of the Motion

of Rebar Kelly to Withdraw as Counsel for Daphna Zekaria, Esquire and Sokolski & Zekaria, P.C.

(hereinafter the “Zekaria Defendants”), and any response thereto, it is hereby ORDERED and

DECREED as follows

              1.     The Motion to Withdraw is GRANTED:

              2.     The Zekaria Defendants are ORDERED to obtain new counsel
                     within thirty (30) days; and

              3.     The underlying case is STAYED pending the expiration of the thirty (30)
                     days above so that the Zekaria Defendants can obtain new counsel.

                                                  BY THE COURT



                                                  ____________________________________
                                                  Honorable John Milton Younge
